[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]               MEMORANDUM OF DECISION RE: MOTION TO STRIKE
This is an action by the plaintiff, Northwestern Mutual Life Insurance Co., for interpleader pursuant to General Statutes § 52-484. The original defendants were "Eileen Greathouse's Representatives and Creditors" and Patricia Jane Greathouse. On September 17, 1999 (# 115) the plaintiff substituted the "Estate of Eileen Legge Greathouse" as one of the two defendants. On October 5, 1999, the individual defendant, Patricia Jane Greathouse, who is appearing pro se, filed cross claims against Carroll A. Greathouse and Zolton A. Benyus "individually and as representatives of the Estate of Eileen Greathouse." Mr. Greathouse is the executor of the estate, and Mr. Benyus is the attorney representing the executor.
Both Greathouse and Benyus have moved (# 129) to strike the cross claims on the basis that Practice Book § 10-10 restricts cross claims to "codefendants" or to "another party." In addition, a party may be "summoned in" to answer a cross claim, which has not been done in this case. Accordingly, because Greathouse and Benyus are not codefendants or parties, the motion to strike the cross claims against them is granted.
The fact that a default for failure to plead had been entered against Greathouse and Benyus, the purported defendants, is CT Page 4452 immaterial as they were neither named defendants by the plaintiff in its summons and complaint, nor had they been properly summoned in. Thus, neither had an obligation to plead, and the motion for default entered on December 2, 1999 by the clerk's office is vacated and set aside.
So Ordered.
Dated at Stamford, Connecticut, this 20th day of April, 2000.
William B. Lewis, Judge